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                                   3                                          NOT FOR CITATION

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       WILLIAM EVANS,                                   Case No. 16-cv-07191-JSW

                                   8                    Plaintiff,
                                                                                            ORDER DENYING MOTION TO
                                   9              v.                                        STRIKE
                                  10       HOME DEPOT U.S.A., INC., et al.,                 Re: Dkt. No. 9

                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13            Now before the Court for consideration is the motion to strike filed by Defendants Wing

                                  14   Enterprises, Inc. dba Little Giant Ladder Systems and Home Depot, U.S.A., Inc. (collectively

                                  15   “Defendants”). The Court has considered the parties’ papers, relevant legal authority, and the

                                  16   record in this case, and the Court finds the motion suitable for disposition without oral argument.1

                                  17   See N.D. Civ. L.R. 7-1(b). The Court VACATES the hearing scheduled for February 24, 2017,

                                  18   and it HEREBY DENIES Defendants’ motion.

                                  19                                             BACKGROUND

                                  20            Plaintiff alleges that his fiancée purchased a Little Giant ladder at Home Depot. (Notice of

                                  21   Removal, Ex. A, Compl. ¶ 11.) On March 6, 2016, while Plaintiff was using the ladder as an

                                  22   extension ladder, “the ladder flexed and bent at the hinge element, causing the ladder to collapse”

                                  23   while he was on it. Plaintiff fell and suffered “severe injuries, including multiple fractures.” (Id. ¶

                                  24   13.) Plaintiff alleges the ladder suffered from manufacturing or design defects, and he also alleges

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                                  27           Plaintiff filed two opposition briefs. (Dkt. Nos. 15, 19.) Because the second brief was
                                       filed after Defendants filed their reply, the Court has considered the first opposition on file,
                                  28   Docket No. 15.
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                                   1   that Defendants were aware of these defects but failed to warn him of those defects.2

                                   2            Based on these and other allegations, which the Court shall address as necessary, Plaintiff

                                   3   filed this Complaint and asserts claims against Defendants for products liability (design defect and

                                   4   manufacturing defect), failure to warn, products liability negligence, and violations of California’s

                                   5   Unfair Competition Law, California Business and Professions Code sections 17200, et seq.3

                                   6   Plaintiff also asserts a claim for punitive damages, pursuant to California Civil Code section

                                   7   3294.4

                                   8                                                ANALYSIS

                                   9            Defendants move to strike the claim for punitive damages, set forth in paragraphs 45-52 of

                                  10   the Complaint and in paragraph 8 of the Prayer for Relief, pursuant to Federal Rule of Civil

                                  11   Procedure 12(f). Under Rule 12(f), a court may strike from a pleading “any insufficient defense or

                                  12   any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). Immaterial
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                                  13   matter “is that which has no essential or important relationship to the claim for relief or the

                                  14   defenses being pleaded.” Fantasy Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on

                                  15   other grounds by Fogerty v. Fantasy, Inc., 510 U.S. 517 (1994) (internal citations and quotations

                                  16   omitted). Impertinent material “consists of statements that do not pertain, and are not necessary,

                                  17   to the issues in question.” Id. (internal citations and quotations omitted). “Rule 12(f) does not

                                  18   authorize district courts to strike claims for damages on the ground that such claims are precluded

                                  19   as a matter of law.” Whittlestone, Inc. v. Handi-Craft, Inc., 618 F.3d 970, 974-75 (9th Cir. 2010).

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                                  21          Plaintiff includes facts in his opposition that are not in his Complaint. The Court has not
                                       considered those facts to resolve this motion.
                                  22   3
                                               Plaintiff filed the Complaint on November 4, 2016, in San Mateo County Superior Court.
                                  23   Defendants assert they were served on November 18, 2016, and they removed to this Court on
                                       December 15, 2016. (Notice of Removal, ¶¶ 1, 8.) It is undisputed that the parties are completely
                                  24   diverse. Defendants assert that the amount in controversy exceeds $75,000 based on Plaintiff’s
                                       allegations relating to the nature of the injuries and the type of damages he seeks. Plaintiff has not
                                  25   challenged the Court’s jurisdiction. The Court concludes Defendant has met its burden to show
                                       the amount in controversy exceeds $75,000. See Standard Fire Ins. Co. v. Knowles, __ U.S. __,
                                  26   133 S.Ct. 1345, 1348-49 (2013).
                                       4
                                  27           Although styled as claim for relief, “[t]here is no cause of action for punitive damages.
                                       Punitive or exemplary damages are remedies available to a party who can plead and prove the
                                  28   facts and circumstances” outlined in Civil Code section 3294. Grieves v. Superior Court, 157 Cal.
                                       App. 3d 159, 163-64 (1984) (internal quotations and citations omitted).
                                                                                          2
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                                   1           Motions to strike are regarded with disfavor because they are often used as delaying tactics

                                   2   and because of the limited importance of pleadings in federal practice. Colaprico v. Sun

                                   3   Microsystems Inc., 758 F. Supp. 1335, 1339 (N.D. Cal. 1991). A motion to strike should be

                                   4   resorted to only when the matter to be stricken could have no possible bearing on the issues in

                                   5   litigation. LeDuc v. Kentucky Central Life Ins. Co., 814 F. Supp. 820, 830 (N.D. Cal. 1992).

                                   6   “Granting a motion to strike may be proper if it will eliminate serious risks of prejudice to the

                                   7   moving party, delay, or confusion of the issues.” Rees v. PNC Bank, N.A., 308 F.R.D. 266, 271

                                   8   (N.D. Cal. 2015) (citing Fantasy, Inc., 984 F.2d at 1527-28). Ultimately, the decision as to

                                   9   whether to strike allegations is a matter within the Court’s discretion. Colaprico, 758 F. Supp. at

                                  10   1339.

                                  11           Defendants argue Plaintiff’s allegations are conclusory and are unsupported by facts that

                                  12   would support an award of punitive damages. In order to support a claim for punitive damages
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                                  13   under California law, Plaintiff will be required to prove “by clear and convincing evidence that the

                                  14   defendant has been guilty of oppression, fraud, or malice[.]” Cal. Civ. Code § 3294. “Conduct

                                  15   which may be characterized as unreasonable, negligent, grossly negligent or reckless does not

                                  16   satisfy the highly culpable state of mind warranting punitive damages.” Woolstrum v. Mailoux,

                                  17   141 Cal. App. 3d Supp. 1, 10 (1983). A plaintiff may recover an “award of punitive damages for a

                                  18   nonintentional tort where defendant’s conduct which causes injury is of such severity or shocking

                                  19   character that it warrants the same treatment as that accorded to willful misconduct-conduct in

                                  20   which the defendant intends to cause harm,” i.e. where it can be considered “wanton and reckless”

                                  21   or in “conscious disregard of the plaintiff’s rights.” Nolin v. Nat’l Convenience Stores, Inc. 95

                                  22   Cal. App. 3d 279, 286 (1979).

                                  23           Section 3294 defines malice as “conduct which is intended by the defendant to cause

                                  24   injury to the plaintiff or despicable conduct which is carried on by the defendant with a willful and

                                  25   conscious disregard of the rights or safety of others.” Section 3294 defines oppression as

                                  26   “despicable conduct that subjects a person to cruel and unjust hardship in conscious disregard of

                                  27   that person’s rights.” Section 3294 defines fraud as “an intentional misrepresentation, deceit, or

                                  28   concealment of a material fact known to the defendant with the intention on the part of the
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                                          Case 4:16-cv-07191-JSW Document 21 Filed 02/21/17 Page 4 of 4




                                   1   deffendant of th           ving a person of property
                                                      hereby depriv                      ty or legal rigghts or otherrwise causinng injury.”

                                   2           Plaintifff agues he alleges
                                                                   a       facts to
                                                                                 t support eaach of these standards. Plaintiff recites these

                                   3   statutory definiitions in his Complaint. (Compl. ¶¶ 47-48.) Plaaintiff also allleges Defenndants’

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                                         owingly con
                                                   ncealed “dam
                                                              mages and rissks associateed with the [[ladder] know
                                                                                                                 wing that Plaaintiff and

                                   5   thee public wou
                                                     uld be using their
                                                                  t     ladderss in activitiess and in situaations in whhich a failuree of the

                                   6   lad
                                         dder would reesult in catasstrophic inju
                                                                                ury, includinng the risk off death” and that Defenddants acted in
                                                                                                                                                n

                                   7   “co
                                         onscious disrregard of” Plaintiff’s saffety. (Id. ¶¶ 48, 52; see aalso id. ¶ 51.a-b.)

                                   8           Defend
                                                    dants have no
                                                                ot moved to dismiss Plaiintiff’s substtantive claim
                                                                                                                  ms for relief, nor have

                                   9   theey moved to dismiss Plaiintiff’s requeest for damaages under R
                                                                                                       Rule 12(b)(6)). See, e.g.,

                                  10   Wh
                                        hittlestone, 618
                                                     6 F.3d at 974.
                                                               9    Defend
                                                                         dants have noot shown thaat Plaintiff’s request for ppunitive

                                  11   dam
                                         mages is red
                                                    dundant, imm           pertinent or sscandalous. Plaintiff inccludes the facts that he
                                                               material, imp

                                  12                                           ve damages and “malicee, intent, knoowledge and other
                                       claaims warrantt an imposition of punitiv
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                                  13   con
                                         nditions of th
                                                      he mind may                                               Cf. Rees, 308 F.R.D. at
                                                                y be alleged generally.” Fed. R. Civv. P. 9(b). Cf

                                  14   273
                                         3-74 (denyin
                                                    ng motion to
                                                               o strike wherre the plaintiff alleged thhe defendants’ conduct w
                                                                                                                              was

                                  15   “m
                                        malicious and
                                                    d willful; in conscious
                                                                  c         disregard of thhe rights andd safety of [pp]laintiff in tthat the

                                  16   acttions were caalculated to injure
                                                                    i      [p]lain
                                                                                 ntiff,” and cooncluding thhat “[e]ven if conclusoryy and

                                  17   unssupported, su
                                                      uch an averm
                                                                 ment of maliice or frauduulent intent is sufficient tto support a request for

                                  18   pun
                                         nitive damag
                                                    ges under Caal. Civ. Codee § 3294(a) iin federal coourt on a mottion to strikee”).

                                  19           Accord
                                                    dingly, the Court DENIE
                                                                          ES Defendant
                                                                                    nts’ motion too strike.

                                  20           IT IS SO
                                                     S ORDER
                                                           RED.

                                  21   Daated: Februarry 21, 2017

                                  22                                                       __________________________________________
                                                                                           JEFFFREY S. W WHITE
                                  23                                                       Unnited States D
                                                                                                          District Judgge
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